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                           Exhibit G
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MGmail                                                                       Kim Leval <cpslegalassistant1@gmail.com>



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